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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION




IN RE NATIONAL PRESCRIPTION
OPIATE LITIGATION                                        MDL No. 2804

                                                         Case No. 17-md-2804
This document relates to:
                                                         Judge Dan Aaron Polster
Cleveland Bakers & Teamsters Health & Welfare Fund
and Pipe Fitters Local Union No. 120 Insurance Fund v.
Purdue Pharma L.P., et al.,
Case No. 18-op-45432 (N.D. Ohio)




     NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF PLAINTIFFS
 CLEVELAND BAKERS AND TEAMSTERS HEALTH AND WELFARE FUND AND
      PIPE FITTERS LOCAL UNION NO. 120 INSURANCE FUND’S OMNIBUS
MEMORANDUM IN OPPOSITION TO (1) MANUFACTURER DEFENDANTS’ JOINT
      MOTION TO DISMISS THE AMENDED COMPLAINT; (2) DISTRIBUTOR
     DEFENDANTS’ MOTION TO DISMISS THE AMENDED COMPLAINT; AND
 (3) MOTION TO DISMISS COMPLAINT BY DEFENDANTS WALMART INC., CVS
   HEALTH CORP., RITE AID OF MARYLAND, INC., AND WALGREENS BOOTS
                            ALLIANCE, INC.




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         Plaintiffs Cleveland Bakers and Teamsters Health and Welfare Fund and Pipe Fitters Local

Union No. 120 Insurance Fund (hereafter, collectively “Plaintiffs”) respectfully submit this Notice

of Supplemental Authority in support of their Omnibus Memorandum in Opposition to

(1) Manufacturer Defendants’ Joint Motion to Dismiss the Amended Complaint; (2) Distributor

Defendants’ Motion to Dismiss the Amended Complaint; and (3) Motion to Dismiss Complaint by

Defendants Walmart Inc., CVS Health Corp., Rite Aid of Maryland, Inc., and Walgreens Boots

Alliance, Inc. (ECF No. 33; MDL 2804 ECF No. 893), to apprise the Court of the United States

Ninth Circuit Court of Appeal’s recent decision in Painters and Allied Trades Dist. Council 82 Health

Care Fund v. Takeda Pharm. Co. Ltd., 943 F.3d 1243 (9th Cir. 2019) (attached hereto as Exhibit A),

with regard to the issue of the third-party payor (“TPP”) plaintiffs’ successful pleading of proximate

cause in a RICO case against a pharmaceutical company defendant.

         In Painters & Allied Trades, the court determined the TPP plaintiffs met the RICO proximate

cause requirement when they alleged they would not have paid for their patients’ prescriptions but

for defendant’s omitted mention of a drug’s known safety risk. In reaching its decision that

proximate cause was adequately pled, the Ninth Circuit relied on the decisions of the First and Third

Circuits in Neurontin1 and Avandia.2




1
    In re Neurontin Mktg. & Sales Practices Litig., 712 F.3d 21 (1st Cir. 2013).
2
    In re Avandia Mktg., Sales Practices & Prod. Liab. Litig., 804 F.3d 633 (3d Cir. 2015).


NOTICE OF SUPP AUTH ISO CLEVELAND BAKERS’ OMNIBUS MEM IN OPP TO MTNS TO
DISMISS BY MFR DEFS, DISTRIB DEFS, WALMART, CVS, RITE AID OF MD & WALGREENS                         -1-
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         The Ninth Circuit agrees with the First Circuit in Neurontin, which rejected the argument that

there were too many steps in the causal chain between the manufacturer’s misrepresentations and

the TPP’s alleged injury in paying for the prescriptions.3 The Ninth Circuit further agrees with the

Third Circuit’s holding in Avandia that, despite the presence of intermediaries, the plaintiffs’ alleged

injury had a direct relation to the alleged RICO violation.4 The First, Third, and Ninth Circuits are

now in alignment in rejecting the argument that there are too many steps in the causal chain between

the manufacturer’s misrepresentations and the TPP’s alleged injuries.

DATED: February 14, 2020                           Respectfully submitted,

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3
    Painters & Allied Trades, 943 F.3d, at 1255.
4
    Id. at 1256.


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NOTICE OF SUPP AUTH ISO CLEVELAND BAKERS’ OMNIBUS MEM IN OPP TO MTNS TO
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 14th day of February, 2020, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF System. Copies will be served upon

counsel of record by, and may be obtained through, the Court CM/ECF Systems.

                                                s/ Aelish M. Baig
                                                Aelish M. Baig




NOTICE OF SUPP AUTH ISO CLEVELAND BAKERS’ OMNIBUS MEM IN OPP TO MTNS TO
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